       UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK

 GUSTAVO GONZALEZ and WILLIAM KANE,
 individually and on behalf of all others similarly
 situated                                                   Case No. 2:24-cv-08894-SJB-JMW
                       Plaintiffs,
         v.
                                                                ORDER FOR ADMISSION
 800-FLOWERS, INC., D/B/A 1-800-                                PRO HAC VICE
 FLOWERS.COM, HARRY & DAVID,
 PERSONALIZATION MALL, SHARI’S BERRIES,
 1-800-BASKETS.COM, SIMPLY CHOCOLATE,
 FRUIT BOUQUETS.COM, CHERYL’S COOKIES,
 THE POPCORN FACTORY, WOLFERMAN’S
 BAKERY, and VITAL CHOICE,

                        Defendants.




       The motion of Ari N. Rothman pursuant to Local Civil Rule 1.3 for admission to practice

pro hac vice in the above captioned action is granted.

       Applicant has declared that he is a member in good standing of the bar the District of

Columbia, Nevada, California, and Ohio; and that his contact information is as follows:
          Ari N. Rothman
          VENABLE LLP
          600 Massachusetts Avenue, NW
          Washington, DC 20001
          Tel.: (202) 344.4220
          ANRothman@Venable.com

       Applicant has moved for admission pro hac vice to appear for all purposes as counsel for

Defendants 800-FLOWERS, Inc., Harry & David, Personalization Mall, Shari’s Berries, 1-800-

Baskets.Com, Simply Chocolate, FruitBouquets.Com, Cheryl’s Cookies, The Popcorn Factory,

Wolferman’s Bakery, and Vital Choice in the above-entitled action;

       IT IS HEREBY ORDERED that applicant is admitted to practice and appear pro hac

vice in the above-captioned case in the United States District Court for the Eastern District of

New York on behalf of Defendants. All attorneys appearing before this court, including attorneys

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admitted pro hac vice, are subject to the Local Rules of this Court, including the Rules governing

discipline of attorneys.

       SO ORDERED.

Dated ______________, 2025        _______________________________________
                                  HON. JAMES M. WICKS




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